         Case 2:21-cv-00691-RAL Document 30 Filed 09/30/21 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                        :
   TAJANAE ANDERSON, on behalf of herself               :
   and others similarly situated,                       :     2:20-cv-03014-RAL
                                                        :
                       v.                               :
                                                        :
   LIBERTY HEALTHCARE CORPORATION                       :
   and SARGENT’S PERSONNEL AGENCY,                      :
   INC.                                                 :

                                                        :
   CRISTINE WILLIAMS, on behalf of herself and          :
   others similarly situated,                           :     2:21-cv-00691-RAL
                              Plaintiff,                :
                                                        :
                        v.
                                                        :
                                                        :
   LIBERTY HEALTHCARE CORPORATION                       :
   and ADVANCE SOURCING CONCEPTS LLC                    :
                                                        :

                            PLAINTIFFS’ UNOPPOSED MOTION
                            FOR APPROVAL OF SETTLEMENT

       Originating Plaintiffs Tajanae Anderson and Cristine Williams and the 48 other

employees who opted-in to the FLSA collective (together “Plaintiffs”) and Defendants Liberty

Healthcare Corp., Sargent’s Personnel Agency, Inc., and Advance Sourcing Concepts LLC

(together “Defendants”) have settled this Fair Labor Standards Act (“FLSA”) lawsuit per the

accompanying Collective Action Settlement Agreement. The settlement requires Defendant to

pay $585,000 plus employer-side taxes associated with the settlement payments. Although the

Third Circuit has not specifically addressed the issue, most judges agree that FLSA collective

settlements must be judicially reviewed for fairness. As discussed in the accompanying

memorandum of law, judicial approval is warranted.

       WHEREFORE, Plaintiffs respectfully ask the Court to grant this motion and approve
         Case 2:21-cv-00691-RAL Document 30 Filed 09/30/21 Page 2 of 2




the settlement. A proposed order is attached.

 Date: September 30, 2021                       Respectfully,




                                                Peter Winebrake
                                                R. Andrew Santillo
                                                Mark J. Gottesfeld
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